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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


                                                        Case No.: 11-cv-2116 (SRN/SER)
Ellen S. Ewald,

                              Plaintiff,
v.
                                                          ORDER AND
Royal Norwegian Embassy,                          REPORT AND RECOMMENDATION

                             Defendant.




     Sheila A. Engelmeier, Susanne J. Fischer, Thomas E. Marshall, Esqs., Engelmeier &
Umanah, P.A., 12 South Sixth Street, Suite 1230, Minneapolis, Minnesota 55402, for Plaintiff.

       John B. Gordon, Daniel G. Wilczek, Joel P. Schroeder, Sean R. Somermeyer, Esqs.,
Faegre Baker Daniels LLP, 90 South Seventh Street, Suite 2200, Minneapolis, Minnesota 55402,
for Defendant.
______________________________________________________________________________

STEVEN E. RAU, United States Magistrate Judge

       The above-captioned case comes before the undersigned on Defendant Royal Norwegian

Embassy’s (the “Embassy”) letter dated December 17, 2013, requesting an order regarding the

privilege status of two documents (Letter to Mag. Judge Rau, Dec. 17, 2013, the “Privilege

Letter,” Ex. C, Attached to Aff. of Thomas E. Marshall) [Doc No. 174-1 at 7–8]; the Embassy’s

Motion to Enforce Compliance with and Provide Sanctions for Violation of Rule 26(b)(5)(B)

(the “Embassy’s Motion for Rule 26 Sanctions”) [Doc. No. 167]; and Plaintiff Ellen S. Ewald’s

(“Ewald”) Motion for Sanctions Due to Spoliation of Evidence (“Ewald’s Motion for Spoliation

Sanctions”) [Doc. No. 184]. 1 This matter has been referred to the undersigned for resolution of

pretrial matters pursuant to 28 U.S.C. § 636(b)(1)(A), (B), and (C), and District of Minnesota

1
        This Court refers to the Embassy’s Motion for Rule 26 Sanctions and Ewald’s Motion for
Spoliation Sanctions collectively as the “Motions for Sanctions.”
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Local Rule 72.1. For the reasons set forth below, this Court finds the documents submitted with

the Privilege Letter are not privileged, denies the Embassy’s Motion for Rule 26 Sanctions, and

recommends that Ewald’s Motion for Spoliation Sanctions be denied. 2

I.     BACKGROUND

       The specific details of this employment discrimination action have been described in

various other orders. See, e.g., (Mem. Op. & Order Dated Jan. 26, 2012) [Doc. No. 18 at 2–4].

       A.      Relevant Factual History

       The Embassy hired Ewald to work at the Honorary Norwegian Consulate in Minneapolis,

Minnesota (the “Consulate”) and paid her $40,000 less per year than Anders Davidson

(“Davidson”), a male comparator, was paid. (Am. Compl.) [Doc. No. 104 ¶¶ 2, 15, 73]. Ewald’s

position was one of four positions at the Consulate. (Id. ¶ 11). After complaining about the pay

disparity, Ewald’s contract was not renewed. (Id. ¶ 59). Ewald alleges that before and after the

completion of her contract term, she was retaliated against and bullied at work. See, e.g., (id.

¶¶ 5, 40, 53, 59). Ewald asserts that Minnesota, federal, and Norwegian law support her claims.

(Id. ¶¶ 60–117). 3

       B.      Relevant Procedural History

       The matters presently before this Court arise out of this Court’s Order on Ewald’s Motion

to Compel Discovery (“Motion to Compel”). (Mot. to Compel) [Doc. No. 106]; (Order Dated

Oct. 8, 2013, “Oct. 2013 Order”) [Doc. No. 129]. 4 In that Order, this Court ruled on several



2
        “This Court” refers to the undersigned and matters heard before the undersigned.
Because the Honorable Judge Susan Richard Nelson has also heard several matters in this case,
this Court specifies those matters that have been before her.
3
        Ewald’s Norwegian claims are no longer a part of this case. See (Mem. Op. & Order
Dated Mar. 6, 2014, “Summary J. Order”) [Doc. No. 201 at 34–37].
4
        This Court’s most recent Order contains additional procedural history. (Oct. 2013 Order
at 2–5).
                                               2
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discovery issues. See (Oct. 2013 Order). Two of these discovery matters are relevant to the

Privilege Letter and Motions for Sanctions discussed in this Order: 5 (1) Ewald’s challenges to

the Embassy’s privileged documents, and (2) Ewald’s request for production or inspection of

mobile phones and laptops. See (Oct. 2013 Order at 9, 10–11).

              1.      Privilege Issues

       In her Motion to Compel, Ewald challenged the Embassy’s privilege claim on several

documents the Embassy produced during discovery. See (Ewald’s Mem. in Supp. of Mot. to

Compel Disc., “Ewald’s Mem. in Supp. of Mot. to Compel”) [Doc. No. 109 at 22–25]. These

challenged documents included two emails, Bates numbered RNE 363–64 (“RNE 363”) and

RNE 63100–03 (“RNE 63100”), that are now the subject of the Privilege Letter. See (id.);

(Privilege Letter). In denying Ewald’s Motion to Compel, this Court ordered the Embassy to

produce a privilege log, required the parties to meet and confer regarding any remaining

privilege disputes, and required the Embassy to submit unredacted versions of any remaining

documents in dispute for in camera review. (Oct. 2013 Order at 11–12).

       Pursuant to this Court’s October 2013 Order, the Embassy produced its privilege log on

November 7, 2013. (Embassy’s Mem. of Law in Supp. of Mot. to Enforce Compliance with &

Provide Sanctions for Violation of Rule 26(b)(5)(B), “Embassy’s Mem. in Supp. of Rule 26

Sanctions”) [Doc. No. 170 at 3]. The parties met and conferred on December 6, 2013, but were

unable to resolve the disputed privilege issues with respect to RNE 363 and RNE 63100. (Letter

to Mag. Judge Dated Dec. 10, 2013) [Doc. No. 166].           The parties then submitted those




5
        This Order also includes a Report and Recommendation regarding Ewald’s Motion for
Spoliation Sanctions. See infra, page 27. For ease of reference, this Court refers to this Order
simply as an Order.
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documents to this Court for in camera review and a determination of the privilege issue on

December 17, 2013. (Privilege Letter). 6

       In the interim, on November 26, 2013, the Honorable Susan Richard Nelson heard oral

argument on the Embassy’s Motion for Summary Judgment. (Minute Entry Dated Nov. 26,

2013) [Doc. No. 162]. During the oral argument, Ewald’s counsel, Sheila Engelmeier, read a

portion of document RNE 88231–35 (“RNE 88231”) out loud and into the record. (Tr. of Mot.

Hr’g on the Embassy’s Mot. for Summary J., “MSJ Tr.”) [Doc. No. 164 at 34:3–24]. 7

RNE 88231 is nearly identical to RNE 63100, and the Embassy had likewise claimed that part of

RNE 88231—the part that Ewald’s counsel read into the record during the Motion for Summary

Judgment oral argument—was privileged. (Embassy’s Mem. in Supp. of Rule 26 Sanctions at

2); (Ewald’s Mem. in Opp’n to Rule 26 Sanctions at 5). The Embassy notified Judge Nelson of

its claim about the document’s privilege status and that the Embassy previously asked Ewald to

return the document. (MSJ Tr. at 73:12–74:1). Ewald’s use of RNE 88231 at the Motion for

Summary Judgment hearing is now the subject of the Embassy’s Motion for Rule 26 Sanctions.

See (Embassy’s Mem. in Supp. of Rule 26 Sanctions).

              2.      Gandrud’s Mobile Phone and Ewald’s First Laptop

       Ewald’s Motion to Compel also requested production of the mobile phone of Gary

Gandrud (“Gandrud”) and the first laptop the Embassy provided to Ewald (“Ewald’s First

Laptop”), among other items. See (Ewald’s Mem. in Supp. of Mot. to Compel at 18, 21). When

Ewald worked for the Embassy, Gandrud was the Honorary Consul for Norway, and was

6
       Although Ewald objected to portions of this Court’s October 2013 Order, neither party
objected to the portion of the Order that discussed privilege. See (Mem. Op. & Order Dated
Nov. 20, 2013, “Nov. 2013 Order”) [Doc. No. 161 at 5–6 n.2].
7
       The parties agree the document referred to in the transcript is RNE 88231. (Embassy’s
Mem. in Supp. of Rule 26 Sanctions at 3–4); (Ewald’s Mem. of Law Opposing Sanction,
“Ewald’s Mem. in Opp’n to Rule 26 Sanctions”) [Doc. No. 173 at 5–6].
                                              4
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employed by the law firm of Faegre & Benson LLP (“Faegre”). 8 (Am. Compl. ¶ 3); (Letter to

District Judge Dated Dec. 23, 2013, “Embassy’s Dec. 23, 2013 Letter”) [Doc. No. 179 at 2].

This Court denied the Motion to Compel, including denying these specific requests. (Oct. 2013

Order at 9). On Ewald’s objection, Judge Nelson affirmed this Court with respect to Ewald’s

First Laptop. (Nov. 2013 Order at 16–17). But Judge Nelson reversed this Court with respect to

mobile phones issued by the Embassy to Gandrud and Ewald. (Id. at 17–21). Since filing her

Motion to Compel, Ewald has learned that the Embassy did not provide Gandrud with a mobile

phone, that the mobile phone Gandrud used at the time (provided by Faegre) has been recycled,

and that the Embassy does not have Ewald’s First Laptop. (Email from Joel Schroeder (the

Embassy), to Sheila Engelmeier (Ewald) (Dec. 1, 2013, 10:02 a.m.), “Schroeder Dec. 1, 2013

Email,” Ex. D, Attached to Affidavit of Susanne J. Fischer, “Fischer Aff.”) [Doc. No. 187-4 at

1]; 9 (Embassy’s Dec. 23, 2013 Letter at 1); (Email from Joel Schroeder (the Embassy), to Sheila

Engelmeier (Ewald) (Nov. 17, 2013, 5:21 p.m.) “Schroeder Nov. 17, 2013 Email”, Ex. J,

Attached to Fischer Decl.) [Doc. No. 187-10 at 2]. 10 As a result, Ewald now moves for sanctions

against the Embassy for spoliation of Gandrud’s mobile phone and Ewald’s First Laptop, as well

as documents from Innovation Norway. 11 (Ewald’s Mem. of Law in Supp. of Her Mot. for




8
        Faegre & Benson LLP merged with Baker & Daniels LLP effective January 1, 2012, and
is now known as Faegre Baker Daniels LLP. Press Release, Faegre Baker Daniels Begins
Business Operations (no date), available at http://www.faegrebd.com/17601 (last visited Mar. 7,
2014). This Court uses “Faegre” to refer to both entities.
9
        Given the volume of correspondence between the parties provided as exhibits in
connection to the Motions for Sanctions, this Court lists the sending and receiving attorneys and
notes the party they represent in a parenthetical when citing correspondence between the parties.
10
        This page number refers to the pagination assigned by CM/ECF.
11
        As noted above, this Court did not grant Ewald’s request for inspection of Ewald’s First
Laptop, and Judge Nelson affirmed that portion of this Court’s October 2013 Order. (Oct. 2013
Order at 9); (Nov. 2013 Order at 16–17). The Innovation Norway documents were not part of
Ewald’s Motion to Compel. See (Ewald’s Mot. to Compel).
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Sanctions Due to Spoliation of Evidence, “Ewald’s Mem. in Supp. of Spoliation Sanctions”)

[Doc. No. 186 at 1].

         This Court heard oral argument on the Motions for Sanctions on January 30, 2014.

(Minute Entry Dated Jan. 30, 2014) [Doc. No. 194].

II.      DISCUSSION

         A.     Privilege Letter

         As described above, the Embassy now seeks review of two emails, identified by their

respective Bates numbers: RNE 363 and RNE 63100. 12 (Privilege Letter at 1). The Embassy

submitted each email in its original form in Norwegian, and provided a certified translation of

each email. (Id.). The certified translations were highlighted where the redactions appeared.

(Id.).

         Because the privilege issue was briefed in connection with Ewald’s Motion to Compel,

this Court relies on the parties’ arguments in that Motion. The Embassy claims that both

documents are legal advice protected by attorney-client privilege. (Embassy’s Mem. of Law in

Opp’n to Pl.’s Mot. to Compel, “Embassy’s Mem. in Opp’n to Mot. to Compel”) [Doc. No. 116

at 37]; see also (Privilege Log, Ex. E, Attached to the Aff. of Sean R. Somermeyer,

“Somermeyer Aff.-171”) [Doc. No. 171-5 at 1–2].

         Ewald argues that the Embassy’s mere assertion that the documents contain “a discussion

of legal advice” does not provide sufficient information to allow the Embassy to claim the

redacted portion is privileged. (Ewald’s Mem. in Supp. of Mot. to Compel at 24). 13 Ewald also



12
       This Court’s use of “RNE 636” and “RNE 63100” is intended to refer the English
versions of each document in its entirety. The reference to the Bates number on the first page of
these multi-page documents is for the sake of readability only.
13
       The only information the Embassy provided to Ewald at the time of her Motion to
Compel regarding RNE 363 and RNE 63100 was this statement: “The redacted portion includes
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argues that, even if the documents contain privileged information, the Embassy waived the

privilege by sending the emails to people who are not attorneys and do not need to know the

information. (Id.). According to the Embassy, the redacted portions report that the Embassy

sought legal advice, and explain its counsel’s “assessment and advice.” (Embassy’s Mem. in

Opp’n to Mot. to Compel at 37). 14 The Embassy argues that documents need not be sent or

created by an attorney to be protected by attorney-client privilege, and that there was no waiver

of the privilege because the documents were shared with high-level officials in the Ministry of

Foreign Affairs (“MFA”) in Oslo, Norway. (Id. at 37–38, 39 n.28); see also (Privilege Letter at

1).

               1.      Legal Standard

        The Federal Rules of Civil Procedure permit “discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense—including the existence, description,

nature, custody, condition, and location of any documents or other tangible things and the

identity and location of persons who know of any discoverable matter.” Fed. R. Civ. P. 26(b)(1).

A court has broad discretion to decide discovery motions. Pavlik v. Cargill, Inc., 9 F.3d 710,

714 (8th Cir. 1993).

        When making a privilege determination, a court uses federal common law unless a

relevant federal rule, statute, or constitutional provision applies. Fed. R. Evid. 501. But where

state law determines the decision in a civil case, state law governs the privilege issue. Id.;


a discussion of legal advice protected by the attorney/client privilege.” (Letter from Joel
Schroeder (the Embassy) to Sheila Engelmeier (Ewald) (July 26, 2013), Ex. DD., Attached to
Aff. of Sheila Engelmeier, “Engelmeier Aff.”) [Doc. No. 110-34 at 4].
14
        Although the Embassy is discussing different documents in its Memorandum opposing
the Motion to Compel, the Embassy clarifies that one of the emails at issue now, RNE 63100,
contains a different iteration of the same redaction discussed in its Memorandum. (Embassy’s
Mem. in Opp’n to Mot. to Compel at 37 n.27). The other document at issue now, RNE 363,
contains “similarly protected statements.” (Id.).
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Bituminous Cas. Corp. v. Tonka Corp., 140 F.R.D. 381, 386 (D. Minn. 1992) (FLN). Ewald’s

claims allegedly arise under both federal and state law. See (Am. Compl. ¶¶ 60–106). Because

federal and Minnesota claims survived summary judgment, this Court will analyze the privilege

issue under both federal common law and Minnesota law. See, e.g., (Summary J. Order at 19,

25).

         Under both federal and Minnesota law, confidential communications between an attorney

and his or her client “are absolutely privileged from disclosure against the will of the client.”

Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 601 (8th Cir. 1977) (reversed in part on other

grounds, 572 F.2d at 606 (en banc)); 15 see also Nat’l Texture Corp. v. Hymes, 282 N.W.2d 890,

895 (Minn. 1979). A party invoking privilege bears the burden of proving the factual basis for

the assertion. Hollins v. Powell, 773 F.2d 191, 196 (8th Cir. 1985); Kobluk v. Univ. of Minn.,

574 N.W.2d 436, 440 (Minn. 1998) (citations omitted).

         In the Eighth Circuit, attorney-client privilege applies when a communication is: (1)

confidential; (2) between an attorney and client; and (3) for the purposes of obtaining legal

services or advice. United States v. Horvath, 731 F.2d 557, 561 (8th Cir. 1984); Diversified

Indus., 572 F.2d at 602, reversed in part on other grounds, 572 F.2d at 606 (en banc). In

Minnesota, the privilege applies:

         (1) [w]here legal advice of any kind is sought (2) from a professional legal adviser
         in his capacity as such, (3) the communications relating to that purpose, (4) made
         in confidence (5) by the client, (6) are at his instance permanently protected (7)
         from disclosure by himself or by the legal adviser, (8) except the protection be
         waived.



15
         The cite for Diversified, 752 F.2d 596, contains multiple Eight Circuit opinions, including
its initial opinion (at page 598), Judge Heaney’s concurrence and dissent (at page 604), the
Eighth Circuit’s opinion on hearing en banc (at 606), and Judge Henley’s concurrence and
dissent from the en banc opinion (at page 611). Thus, this Court uses parentheticals to explain
from which opinion it is citing for the sake of clarity.
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Kobluk, 574 N.W.2d at 440 (internal citations omitted); see also Minn. Stat. § 595.02, subdiv.

1(b) (“An attorney cannot, without the consent of the attorney’s client, be examined as to any

communication made by the client to the attorney or the attorney’s advice given thereon in the

course of professional duty; nor can any employee of the attorney be examined as to the

communication or advice, without the client’s consent.”).

       In both jurisdictions, “‘[t]he privilege only protects disclosure of communications; it does

not protect disclosure of the underlying facts by those who communicated with the attorney.’”

PaineWebber Grp. Inc. v. Zinsmeyer Trusts P’ship, 187 F.3d 988, 994 (8th Cir. 1999) (quoting

Upjohn Co. v. United States, 449 U.S. 383, 395 (1981)); see also Kobluk, 574 N.W.2d at 443.

Whether an attorney-client relationship exists, and for what purpose, is not considered privileged

under either federal common law or Minnesota law. See Diversified Indus., 572 F.3d at 603

(finding that a memorandum establishing the relationship between a law firm and client, the

purpose of the relationship, and the steps the law firm would take to discharge its obligation did

not contain confidential information), aff’d in relevant part on reh’g en banc, 572 F.3d at 606;

Burris v. Versa Prods., Inc., Civil No. 07-3938 (JRT/JJK), 2013 WL 608742, at *4 (Feb. 19,

2013) (citing Baskerville v. Baskerville, 75 N.W.2d 762, 767 (Minn. 1956); Henderson v.

Eckern, 132 N.W. 715, 716 (Minn. 1911)) (“The mere fact that a client has requested an attorney

to act as counsel or consulted with counsel is not protected by the privilege.”).

       Although Minnesota has not established a separate test for corporations, the attorney-

client privilege is maintained in an employee’s communication within the corporation in the

Eighth Circuit if:

       (1) the communication was made for the purpose of securing legal advice; (2) the
       employee making the communication did so at the direction of his corporate
       superior; (3) the superior made the request so that the corporation could secure
       legal advice; (4) the subject matter of the communication is within the scope of

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       the employee’s corporate duties; and (5) the communication is not disseminated
       beyond those persons who, because of the corporate structure, need to know its
       contents.

Diversified Indus, 572 F.2d at 609 (en banc); see also Leer v. Chicago, Milwaukee, St. Paul &

Pac. Ry. Co., 308 N.W.2d 305, 308–09 (Minn. 1981) (reviewing attorney-client privilege tests in

the context of corporations but not adopting any of those reviewed). The corporation has the

burden to show that these requirements apply to the communication. Diversified Indus., 572

F.2d at 609 (en banc).

       Waiver of privilege occurs when the communication is voluntarily disclosed to a third

party. United States v. Hyles, 479 F.3d 958, 971 (8th Cir. 2007) (citation omitted); Kobluk, 574

N.W.3d at 443. Under federal law, waiver is governed by the Federal Rules of Evidence. See

Fed. R. Evid. 502(a), (b). The scope of any waiver depends on whether the party intentionally

waived privilege, or whether the disclosure of privileged information was inadvertent. Id.; see

also U.S. SEC v. Welliver, Civil No. 11-cv-3076 (RHK/SER), 2012 WL 8015672, at *4 (D.

Minn. Oct. 26, 2012). If the waiver is intentional, the subject-matter waiver doctrine provides

that the privilege may be extinguished as to the entire subject matter of the disclosed

information. Fed. R. Civ. P. 502(a); Shukh v. Seagate Tech., LLC, 848 F. Supp. 2d 987, 990 (D.

Minn. 2011) (JRT/JJK). The subject-matter waiver doctrine exists “to prevent a party from using

the advice he received as both a sword, by waiving privilege to favorable advice, and a shield, by

asserting privilege to unfavorable advice.’” Shukh, 848 F. Supp. 2d at 990 (quoting In re

EchoStar Commc’ns Corp., 448 F.3d 1294, 1303 (Fed. Cir. 2006)) (other citations omitted).

       If, however, a party has inadvertently disclosed privileged information, courts in this

District analyze whether an inadvertent disclosure constitutes a waiver of privilege using the five

factors first announced in Hydraflow:



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       (1) the reasonableness of the precautions taken to prevent inadvertent disclosure
       in light of the extent of document production, (2) the number of inadvertent
       disclosures, (3) the extent of the disclosures, (4) the promptness of measures taken
       to remedy the problem, and (5) whether justice is served by relieving the party of
       its error.

Starway v. Indep. Sch. Dist. No. 625, 187 F.R.D. 595, 597 (D. Minn.1999) (ADM/AJB) (citing

Gray v. Bicknell, 86 F.3d 1472, 1484 (8th Cir. 1996); Hydraflow, Inc. v. Enidine Inc., 145 F.R.D.

626, 637 (W.D.N.Y. 1993) (adopting the Hydraflow test). If a court finds that a party waived

privilege by inadvertently disclosing privileged information, the waiver is limited to the

disclosed information and does not extend to the entire subject matter of the disclosed

information. Fed. R. Evid. 502(b); Welliver, 2012 WL 8015672, at *5.

       Finally, a court may find that a party waived privilege by implication after examining the

following elements: (1) implied intention and (2) fairness and consistency. Sedco Int’l, S.A. v.

Cory, 683 F.2d 1201, 1206 (8th Cir. 1982). Examples of implied waiver include a client’s

testimony about an attorney-client communication, the client placing the attorney-client

relationship at issue, and the client’s reliance on an attorney’s advice as an element of a claim or

defense. Id. (citing cases).

       Under Minnesota law, a party’s words or conduct may waive attorney-client privilege.

State ex rel. Schuler v. Tahash, 154 N.W.2d 200, 205 (Minn. 1967) (citations omitted). Privilege

may be waived when the party claiming privilege allows an opposing party to use a privileged

document without objection. Driscoll v. Standard Hardware, Inc., 785 N.W.2d 805, 818–19

(Minn. Ct. App. 2010). But where a party inadvertently disclosed privileged information, a

Minnesota court may find there is no waiver of privilege. Lundman v. McKown, 530 N.W.2d

807, 830 (Minn. Ct. App. 1995).




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                  2.     Analysis

                         i.      RNE 363

           RNE 363 is an email from Johan Christopher Vibe (“Vibe”), Deputy Chief of Mission at

the Embassy, to Liv Mørch Finborud (“Finborud”), who was responsible for coordinating

between the MFA in Oslo, the Embassy, and the Steering Committee that funded Ewald’s

position. (RNE 363 at 1); 16 (Aff. of Sean R. Somermeyer, “Somermeyer Aff.-118”) [Doc. No.

118 ¶ 7]. Finborud was also chairwoman of the Steering Committee. 17 (Id.); (Ewald’s Mem. in

Supp. of Mot. to Compel at 9 n.4). The following individuals appear on the “Cc” line: Morten

Aasland (“Aasland”), Coordinator for North America for the MFA; Aud Kolberg (“Kolberg”),

Director General of the Human and Financial Resources Department at the MFA; Espen Larsen,

Head of Personnel at the MFA; Lars Petter Henie (“Henie”), Minister Counselor for Economic

Affairs at the Embassy; Elisabeth Wemberg (“Wemberg”), Head of Administration at the

Embassy; Kari Rød Ventrone (“Ventrone”), Archivist at the Embassy; and Wegger Chr.

Strømmen (“Ambassador Strømmen”), Norway’s Ambassador to the United States.

(Somermeyer Aff.-118 ¶ 9); (Privilege Letter). The email states that it was “[w]ritten by Henie,

Vibe, and Wemberg[,]” and approved by Ambassador Strømmen. (RNE 363 at 2). RNE 363

contains two redacted portions. (Id. at 1–2).

           The first redaction in RNE 363 is a heading and one sentence that states that the Embassy

spoke to an attorney to resolve a specific issue. (RNE 363 at 1). The fact that an entity engaged

an attorney and the purpose for the engagement is not privileged under either federal common

16
           Page 1 refers to the page numbers provided in the translated version of the document.
17
           All titles and positions are those held at the time RNE 363 was sent. See (Privilege
Letter).
       The Steering Committee is also called the “Steering Group” at times. See, e.g.,
(Somermeyer Aff.-118 ¶ 7). This Court refers to it as the Steering Committee throughout this
Order and Report and Recommendation for the sake of consistency.
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law or Minnesota law. See Diversified Indus., 572 F.3d at 603, aff’d in relevant part on reh’g en

banc, 572 F.3d at 606; Burris, 2013 WL 608742, at *4 (citing Baskerville, 75 N.W.2d at 767;

Henderson, 132 N.W. at 716). Thus, the privilege does not apply to the first redaction.

       The second redaction in RNE 363 is a phrase (the “Redacted Phrase”) located in the

second bullet point listed under the heading titled “Recommendations.” The Redacted Phrase

refers to what the Embassy recommends. (RNE 363 at 2). The first redaction, based on an

attorney-client privilege claim in RNE 363, immediately precedes the Recommendations

heading.   (Id. at 1).    Thus, it is not clear from the text that the Recommendations are

recommendations from legal counsel, Vibe’s recommendations, or some mix of both. See (id. at

1–2). But the Embassy did not redact any of the other four bullet points, which suggests that the

Embassy does not see the Recommendations as advice from counsel. See (id. at 2). Even more

telling is the fact that the first part of the sentence that contains the Redacted Phrase is not

redacted. (Id.). It states, “The [E]mbassy will keep a running log of conversations and other

contact with the employees at the [C]onsulate, . . . .” (Id.). If anything, this part of the sentence,

describing a plan to preserve evidence of conversations with employees, appears to be typical

legal advice given to an entity that may be threatened with litigation. Yet, the Embassy did not

redact this part of the sentence, which suggests that it does not consider it legal advice. See (id.).

       Instead, the Embassy singles out an individual phrase that includes the words “legal

steps” and claims that it is covered by the attorney-client privilege. (Id.). Nothing about the

Redacted Phrase indicates it is a communication between an attorney and client, or that the

recommendation is based on advice from counsel. See Horvath, 731 F.2d at 561; Kobluk, 574

N.W.2d at 440. Instead, it appears to be a statement about what the Embassy, the client, will




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recommend, presumably to the recipients of the email. Thus, it does not qualify for protection

under the attorney-client privilege.

       Finally, even if both redactions are privileged—a proposition with which this Court does

not agree—the Embassy has waived the privilege under federal common law and Minnesota law.

With respect to federal law, the Embassy has the burden to show privilege, but has not shown

that each recipient had a need to know the so-called privileged information. See Diversified

Indus., 572 F.3d at 609 (en banc). The Embassy argues that each recipient needed to know the

information based on their position. (Embassy’s Mem. in Opp’n to Mot. to Compel at 38–39).

Although the Embassy’s argument is not focused on RNE 363 specifically, it categorizes

recipients who have “need to know” access into three groups: (1) those that are involved in

coordinating the MFA, the Embassy, and the Steering Group; (2) department-level management

at the MFA; and (3) those who represent “the link to high-level MFA officials, specifically to the

Foreign Minister, Jonas Gahr Støre.” (Id. at 38); see also (Somermeyer Aff.-118 ¶ 7).

       But the Embassy does not explain why these individuals, or even these groups, needed to

know the purported legal information. This Court can presume that an ambassador and the

deputy chief of mission (Ambassador Strømmen and Vibe, respectively) needed to know about

purported legal matters concerning their employees at the Embassy, and by extension, the

Consulate in Minneapolis. And this would likely involve some senior MFA officials such as

Kolberg and Espen Larsen who hold personnel-related positions at the MFA. See (Privilege

Letter). But the Embassy fails to explain why so many people might need access to a so-called

legal communication. For example, Henie is responsible for economic affairs at the Embassy,

and Ventrone’s title is “archivist.” (Id.). Henie and Ventrone’s involvement in legal affairs is

not apparent from their titles. Additionally, the Embassy does not explain why the broad groups



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it describes in its memorandum needed to know about legal advice. See (Embassy’s Mem. in

Opp’n to Mot. to Compel at 38). Although some people in positions of authority likely needed

to know legal advice provided to the Embassy, no specific information regarding why these

broad groups of people needed access to legal advice is offered. Without this information, this

Court cannot determine whether these groups needed to know legal advice. Therefore, under the

federal common law, the Embassy has failed to show that the attorney-client privilege attaches to

communications between employees, and has failed to meet its burden to show that the privilege

was not waived when RNE 363 was distributed to third parties.

       Under Minnesota law, there appears to be no similar protection for employees of

corporations. See Leer, 308 N.W.2d at 308–09 (reviewing tests, but not adopting a test). The

Minnesota Supreme Court considered three tests in Leer: (1) the “control group” test, (2) the

“subject matter” test, and (3) the Eighth Circuit’s test in Diversified. Id. at 308–09 (citations

omitted). But under any of these three tests, the Embassy has waived its privilege claim by

disclosing the communication to third parties.

       In the “control group” test, privilege is determined by whether “the employee [is] in a

position to control or take substantial part in a decision about any action to be taken upon the

advice of the attorney[,] or that the employee [is] a member of a group having such authority.”

Id. at 308 (citing City of Philadelphia v. Westinghouse Elec. Corp., 210 F. Supp. 483, 485 (E.D.

Pa. 1962)). Even if the Embassy had established that the authors of the document—Henie, Vibe,

and Wemberg—were in a position to control legal decisions, the Embassy has not established the

same for the remaining five recipients. See (RNE 363). Therefore, under the “control group”

test, the Embassy waived any privilege it had.




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        Under the “subject matter” test, the attorney-client privilege can be extended to a

corporation’s employee “where the employee made the communication at the direction of his

supervisor and where the subject matter upon which the lawyer’s advice was sought by the

corporation and dealt with in the communication was within the performance of the employee’s

duties.” Leer, 308 N.W.2d at 308 (citing Harper & Row Publishers, Inc. v. Decker, 423 F.3d

487, 491–92 (7th Cir. 1970)). Under this test, the Embassy waived any privilege it might have

had when it sent RNE 363 to employees which it has not established had responsibilities

involving the privilege-claimed information.

        The third test discussed in Leer was the test established by the Eighth Circuit in

Diversified. Id. at 308–09 (citing Diversified Indus., 572 F.3d at 609 (en banc)). As stated

above, the Embassy also waived any privilege it might have had under this test. See supra at 14–

15.

        In conclusion, the substance of the redactions in RNE 363 are not privileged under

federal common law or Minnesota. Even if they were, the Embassy waived the privilege by

sending RNE 363 to individuals who are not included with the scope of the attorney-client

privilege here. 18 RNE 363 must be produced to Ewald without redactions.

                      ii.     RNE 63100

        RNE 63100 is an email that was initially sent from Finborud to Torgeir Larsen; Øyvind

Stokke; Juliette Bernard Gillesdal (“Gillesdal”), and Ove Thorsheim (“Thorsheim”).



18
        The parties do not address whether any disclosure to third parties intentionally waived the
privilege, or whether the disclosure was inadvertent. This Court presumes any disclosure was
inadvertent because there is no affirmative statement of intent to disclose. See Fed. R. Civ. P.
502(a); State ex rel. Schuler, 154 N.W.2d at 205. The Embassy does not argue that any
inadvertent disclosure should not be held to constitute a waiver. Therefore, this Court finds that
to the extent the redacted portions of RNE 363 were inadvertently disclosed, the Embassy
waived the privilege.
                                                16
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(RNE 63100 at 2). 19 Mona Elisabeth Brøther (“Brøther”), Sten Anders Berge (“Berge”), and

Margaret Slettevold (“Slettevold”) were on the “Cc” line. (Id.). The email was then forwarded

to Aasland, who in turn forwarded it to Unni Kløvstad (“Kløvstad”); Anne Kjersti Amundsen

Shaw (“Shaw”); Rune Jensen (“Jensen”); Anne Kjersti Frøholm; Annlaug Rønneberg;

Gundersen; Eilif; 20 Mariann Murvoll; Brit Løvseth; Mathias Rongved; Lars Nordrum; Aasland;

Torleiv Opland (“Opland”); Saria Basit; and Kyrre Holm.       (Id.).   The Embassy identifies

Finborud and Slettevold as “responsible for coordinating between the MFA in Oslo, the Embassy

in Washington, D.C., and the Steering Group . . . that funded [Ewald]’s position.” (Somermeyer

Aff.-118 ¶ 7). Thorsheim, Brøther, Berge, Torgeir Larsen, Stokke, and Gillesdal were all high-

level employees within the MFA. (Id.). RNE 63100 has only one redacted portion, which

consists of three sentences. (RNE 63100 at 3).

       The first sentence, like the first redaction in RNE 363, states that the Embassy sought

legal advice. (RNE 63100 at 3). As stated above, whether a person or entity engaged an

attorney, and for what purpose, is not privileged under federal common law or Minnesota law.

See Diversified Indus., 572 F.3d at 603, aff’d in relevant part on reh’g, 572 F.3d at 606 (en

banc); Burris, 2013 WL 608742, at *4 (citations omitted). Therefore, the first sentence is not

privileged.

       The second and third sentences, like the second redaction in RNE 363, are statements

about the Embassy’s future actions. (RNE 63100 at 3). These sentences clearly state that they

are from the point of view of the Embassy; nothing in them suggests that they convey anything

communicated by an attorney, or that any legal advice prompted the Embassy’s actions. (Id.).



19
         The translated version of RNE 63100 does not have page numbers. This Court refers to
the first page as page 1, the second page as page 2, etc., for ease of reference.
20
         There is no further information regarding recipients Gundersen and Eilif.
                                                 17
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Therefore, the second and third sentences do not constitute communications protected by the

attorney-client privilege.

       Finally, even if the redacted portion was privileged—although this Court does not

agree—the Embassy waived privilege when it disclosed the purportedly privileged information

to third parties for the reasons discussed above. See Diversified Indus., 572 F.3d at 609 (en

banc); Leer, 308 N.W.2d at 309.

       B.      Embassy’s Motion for Rule 26 Sanctions

       The Embassy moves for sanctions under Rule 26 because the redacted portion of a

document, RNE 88231, was read out loud by Ewald’s counsel during the hearing on the Motion

for Summary Judgment. (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 3–4). RNE 88231

is a similar, unredacted version of RNE 63100. The redacted language from RNE 63100 is the

same as the language in RNE 88231 that Ewald’s counsel read out loud at the Motion for

Summary Judgment Hearing. 21 (Ewald’s Mem. in Opp’n to Rule 26 Sanctions at 5). As

discussed above, at the time of the Summary Judgment hearing, the Embassy had already

notified Ewald that it claimed RNE 88231 contained privileged information, and repeatedly had

asked for its return. (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 2). Ewald disputed this

privilege claim, and the parties had not reached an agreement about how to handle RNE 88231.

21
        This Court agrees with Ewald’s assertion that the documents are substantially similar and
contain the same language that the Embassy claims is privileged. (Ewald’s Mem. in Opp’n to
Sanctions at 5). Ewald submitted a Google translation of RNE 88231. (Ex. A, “(RNE 88231-E,”
Attached to Suppl. Aff. of Sheila Engelmeier) [Doc. No. 114 at 82–88].
        The primary email from Finborud, in which the Embassy’s redaction is located, was sent
on April 20, 2010 at 2:12 p.m. (RNE 63100). This date/time stamp is consistent in both
RNE 63100 and RNE 88231, and in both their English and Norwegian versions. See
(RNE 63100); (RNE 88231); (RNE 88231-E). But there is a difference between the documents.
In RNE 88231, Finborud’s email was forwarded to a different group of recipients with what
appear to be administrative comments when compared with the recipients in RNE 63100. See
(RNE 88231-E). This Court does not find this difference material in terms of the claimed
privilege.
                                               18
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(Id. at 2–3). This Court will first address the factual and procedural background of RNE 88231

in the litigation before addressing the legal analysis.

                1.     Factual and Procedural Background

       The Embassy produced RNE 88231 on February 18, 2013. (Ewald’s Mem. in Opp’n to

Rule 26 Sanctions at 2); see also (Embassy’s Mem. in Opp’n to Mot. to Compel at 8) (stating

that the Embassy produced documents with Bates numbers RNE 87890–88985 on February 18,

2013). The Embassy first asked Ewald to destroy RNE 88231 on June 3, 2013. (Embassy’s

Mem. in Supp. of Rule 26 Sanctions at 2). Ewald did not destroy the document, and instead

argued, on July 16, 2013, its privilege protection should be removed. (Id. at 2). Ewald brought

her Motion to Compel on July 29, 2013, which challenged several of the Embassy’s privilege

designations.   (Mot. to Compel); (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 2).

Although Ewald did not specifically address RNE 88231 in her Motion to Compel, she submitted

the document to this Court in its original Norwegian version as an exhibit, and read part of the

privileged portion into the record during the hearing on the Motion to Compel. 22 (RNE 88231

Ex. BB, Attached Engelmeier Aff.) [Doc. No. 110-32 at 55–59]; (Tr. of Hr’g on Mot. to Compel)

[Doc. No. 125 at 39:2–20]. 23 The Embassy produced a privilege log on November 7, 2013,

pursuant to this Court’s October 2013 Order. (Embassy’s Mem. in Supp. of Rule 26 Sanctions at

3); see also (Oct. 2013 Order at 11). The privilege log again advised Ewald that RNE 88231 was

produced inadvertently, requested its destruction, and attached a properly redacted version of

RNE 88231. (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 3); (Privilege Log at 5–6).



22
       Ewald submitted the Google translation of RNE 88231 the day after she filed her Motion
to Compel. See (RNE 88231-E).
23
       The parties agree that the document is misidentified in the transcript as RNE 88022. See
(Embassy’s Mem. in Supp. of Rule 26 Sanctions at 3 n.1); (Ewald’s Mem. in Opp’n to Rule 26
Sanctions at 3).
                                                  19
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According to the Court’s October 2013 Order, the parties were to meet and confer regarding any

documents where the privilege issue was still disputed. (October 2013 Order at 11).

       But before the parties began that process, Judge Nelson heard oral argument on the

Embassy’s Motion for Summary Judgment on November 26, 2013. (Minute Entry Dated Nov.

26, 2013). During the hearing, Ewald’s counsel read a translated portion of RNE 88231 that was

subject to the Embassy’s claim of privilege into the record. (MSJ Tr. at 34:3–24); (Embassy’s

Mem. in Supp. of Sanctions at 3). At the time of that hearing, the Embassy: (1) had already

asked that RNE 88231 be destroyed, (2) had notified Ewald again through its privilege log that it

had been inadvertently produced and asked for it to be destroyed, and (3) had also claimed

privilege for RNE 63100, which contained the same information. (Embassy’s Mem. in Supp. of

Rule 26 Sanctions at 3); (Privilege Log at 5–6). The parties had not yet engaged in the meet-

and-confer process ordered by this Court, and therefore had not submitted the privilege issue to

this Court. See (Letter to Mag. Judge Dated Dec. 6, 2013); (Privilege Letter); (Oct. 2013 Order

at 11). Thus, there was a claim of privilege for RNE 88231 and a challenge to that claim, but no

final determination as to whether that document, or RNE 63100, was privileged. During the

hearing on the Motion for Summary Judgment, the Embassy notified Judge Nelson of the

document’s privilege claim and that the Embassy had asked Ewald to return the document. (MSJ

Tr. at 73:12–74:1).

       On December 6, 2013, the Embassy then asked Ewald to confirm that it had destroyed

RNE 88231, and again Ewald argued again that it was not privileged. (Embassy’s Mem. in

Supp. of Rule 26 Sanctions at 4). The Embassy filed its Motion for Sanctions on December 11,

2013. (Embassy’s Mot. for Rule 26 Sanctions).




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              2.      Legal Standard

       The Federal Rules of Civil Procedure provide that:

       [i]f information produced in discovery is subject to a claim of privilege or of
       protection as trial-preparation material, the party making the claim may notify any
       party that received the information of the claim and the basis for it. After being
       notified, a party must promptly return, sequester, or destroy the specified
       information and any copies it has; must not use or disclose the information
       until the claim is resolved; must take reasonable steps to retrieve the information
       if the party disclosed it before being notified; and may promptly present the
       information to the court under seal for a determination of the claim. The
       producing party must preserve the information until the claim is resolved.

Fed. R. Civ. P. 26(b)(5)(B) (emphasis added). When a privilege claim is challenged, a court

ultimately decides if the privilege applies. Fed. R. Civ. P. 26 advisory committee’s notes (1993

Amendments). “No receiving party may use or disclose the information pending resolution of

the privilege claim.” Fed. R. Civ. P. 26 advisory committee’s notes (2006 Amendment).

              3.      Analysis

                      a.     Violation of Rule 26

       The Embassy argues that Ewald violated the Federal Rules by ignoring Rule 26’s

procedures for inadvertently-produced documents, refusing the Embassy’s requests for return or

destruction of the document, and reading information subject to a privilege claim into the record

in open court. See (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 1). The Embassy now

seeks an order that “(1) requir[es] Ewald to destroy all copies of the document and provide

written confirmation she has done so; (2) strik[es] all references to the privileged information

from the record; and (3) bar[s] Ewald from using the information in the future.” (Id. at 6). The

Embassy also seeks attorneys’ fees for bringing the sanctions motion. (Id. at 6–7). Ewald argues

the Motion for Rule 26 Sanctions is untimely, the Embassy has not acted timely, the Embassy

did not properly assert its rights, the Embassy did not engage in the meet-and-confer process



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required by the Local Rules, the Embassy’s Motion is unnecessary, the Embassy has not

demonstrated that RNE 88231 is privileged, and the Embassy has no right to sanctions. See

generally (Ewald’s Mem. in Opp’n to Sanctions).

       As an initial matter, this Court does not consider the Embassy’s Motion for Rule 26

Sanctions untimely. The deadline for nondispositive motions was August 15, 2013. (Order

Dated May 23, 2013) [Doc. No. 102 at 1]. Although privilege issues had been timely raised by

Ewald, the complained-of conduct, that Ewald had used a document subject to a privilege claim

during the hearing on the Embassy’s Motion for Summary Judgment, had not occurred at the

expiration of the nondispositive motion deadline. (Minute Entry Dated Nov. 26, 2013). Instead,

the complained-of conduct took place on November 26, 2013. (Id.). The Embassy attempted to

resolve the dispute with Ewald by letter dated December 6, 2013, ten days later. See (Letter

from Sean Somermeyer (the Embassy) to Sheila Engelmeier, Thomas Marshall, and Suzanne

Fischer (Ewald) (Dec. 6, 2013) (“Embassy’s Dec. 6, 2013 Letter”), Ex. F., Attached to

Somermeyer Aff.-171) [Doc. No. 171-6]. 24       Ewald responded on December 10, and again

disputed that RNE 88231 was privileged. (Letter from Thomas Marshall (Ewald), to Sean

Somermeyer (the Embassy) (Dec. 10, 2013) (“Ewald’s Dec. 10, 2013 Letter”), Ex. G, Attached

to Somermeyer Aff.-171) [Doc. No. 171-7]. The Embassy filed its Motion for Sanctions the day

after Ewald’s letter. (Embassy’s Mot. for Rule 26 Sanctions). Given that these actions took

place during a fifteen-day time period—which included the Thanksgiving holiday—this Court

24
        The Embassy stated that it intended to seek a remedy from this Court, and requested the
Embassy destroy RNE 88231 in an attempt to satisfy its “obligation under Local Rule 7.1 to
meet and confer before filing a motion . . . .” (Embassy’s Dec. 6, 2013 Letter). Thus, contrary to
Ewald’s assertion, there was a meet-and-confer process. See (Ewald’s Mem. in Opp’n to Rule
26 Sanctions at 9–10). That Ewald expected a response to her counsel’s December 10 letter is
not relevant. See (id. at 9). Ewald’s counsel disputed that the document was privileged, and thus
it appeared clear to the Embassy that the parties could not resolve their dispute and a motion was
appropriate.
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finds the Embassy had good cause to bring its Motion for Rule 26 Sanctions after the

nondispositive motion deadline. See Fed. R. Civ. P. 16(b)(4). Therefore, this Court is not

persuaded by Ewald’s arguments that the Motion for Rule 26 Sanctions was untimely, that the

Embassy acted in an untimely manner, that the Embassy did not properly assert its rights, or that

the Embassy did not engage in the meet-and-confer process.

       As to the substance of the Embassy’s Motion, this Court finds Ewald violated Federal

Rule of Civil Procedure 26(b)(5)(B). Under this Rule, Ewald was obligated to “return, sequester,

or destroy” RNE 88231 after the Embassy notified Ewald that the document was produced

inadvertently, and that the Embassy claimed part of it was privileged.         Fed. R. Civ. P.

26(b)(5)(B). Ewald notes that the Embassy waited four months before asserting its privilege and

did not object to Ewald’s use of RNE 88231 during the Motion to Compel briefing and oral

argument. (Ewald’s Mem. in Opp’n to Rule 26 Sanctions at 7–8). This Court does not find the

timing issues dispositive of whether Ewald and her attorneys complied with the Federal Rules.

Arguably, using a document where privilege was claimed has the potential to be much more

prejudicial during a Motion for Summary Judgment in comparison to a Motion to Compel. In

Ewald’s Motion to Compel, privilege was one of many issues before this Court. See (Mot. to

Compel). But when the parties argued the Motion for Summary Judgment, the privilege issue

had not yet been determined, and therefore, RNE 88231 should not have been used. See Fed. R.

Civ. P. 26(b)(5)(B).

       Ewald’s argument that it “sequestered” the document by “only” reading it to Judge

Nelson is also unpersuasive at best, and disingenuous at worst. (Ewald’s Mem. in Opp’n to Rule

26 Sanctions at 16); see also (Tr. of Mots. Hr’g Jan. 30, 2014) [Doc. No. 196 at 10:4–19].

Ewald’s argument in this regard eviscerates Rule 26’s prohibition against “use” of a document



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claimed to be privileged by any standard of measure. The hearing on the Embassy’s Motion for

Summary Judgment was a public hearing, meaning anyone, including members of the press,

could attend. Ewald’s counsel’s reading of the privileged portion of RNE 88231 during a public

hearing does not meet Ewald’s burden to sequester the document under the federal rules—nor

can it be said to fairly comply with the prohibition against use of such a document. See Fed. R.

Civ. P. 26(b)(5)(B). The portion of a document claimed to be privileged may not be used until

the privilege claim is decided.   See Fed. R. Civ. P. 26 advisory committee’s notes (2006

Amendment). When privilege is challenged, the final determination rests with this Court. Fed.

R. Civ. P. 26 advisory committee’s notes (1993 Amendments). This Court finds the reading of

the document during a public hearing constitutes “use” of the document. That Ewald disagreed

with the Embassy’s assertion of privilege did not give her or her counsel permission to ignore

what Rule 26 requires. See Fed. R. Civ. P. 26(b)(5)(B).

                      b.     Whether RNE 88231 is Privileged

       The Embassy requests that this Court order Ewald to destroy RNE 88231, strike all

references to RNE 88231, and bar Ewald from using RNE 88231. (Embassy’s Mem. in Supp. of

Rule 26 Sanctions at 6). Thus, a determination regarding whether RNE 88231 is privileged is

necessary.

       As stated above, RNE 88231 is an unredacted version of RNE 63100. See (Embassy’s

Mem. in Supp. of Rule 26 Sanctions at 2); (Ewald’s Mem. in Opp’n to Rule 26 Sanctions at 5).

Based on this Court’s analysis of the privilege claim in RNE 63100 above, RNE 88231 is

likewise not privileged. 25 Therefore, the Embassy’s proposed remedies of destruction of RNE



25
        The primary difference between RNE 63100 and RNE 88231 is that they were sent to
different recipients. The record reflects no explanation of the roles of the recipients of RNE
88231. Therefore, even if the redacted information was privileged, which this Court finds it is
                                              24
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88231, striking references to it, and barring Ewald from using it are inapplicable.             See

(Embassy’s Mem. in Supp. of Sanctions at 6).

       The Embassy requests sanctions and both the Embassy and Ewald request attorneys’ fees

for their participation in motion practice related to RNE 88231. See (id. at 6–7); (Ewald’s Mem.

in Opp’n to Rule 26 Sanctions at 7, 17). Although this Court finds that Ewald violated Rule 26,

it finds that sanctions are not appropriate in this particular instance, and addresses the

effectiveness of sanctions in a separate section of this Order. See infra, page 40–41.

       C.      Ewald’s Motion for Spoliation Sanctions

       Ewald moves this Court for sanctions against the Embassy for spoliation of three items:

(1) Gandrud’s mobile phone; (2) Ewald’s First Laptop; and (3) documents from Innovation

Norway. (Ewald’s Mem. in Supp. of Spoliation Sanctions at 1). Ewald proposes the following

sanctions: striking the Embassy’s Answer, an evidentiary presumption that Gandrud’s mobile

phone and Innovation Norway’s documents are detrimental to the Embassy’s defense and

support Ewald’s claims; and a monetary sanction “for the expense and time she spent engaged in

[this] discovery dispute . . . .” (Id. at 20). This Court will first define the legal standard, then

discuss each allegedly spoliated item.

               1.      Legal Standard

       “‘Spoliation is the destruction or significant alteration of evidence, or the failure to

preserve property for another’s use as evidence in pending or reasonably foreseeable litigation.’”

Nicollet Cattle Co., Inc. v. United Food Grp., LLC, No. 08-5899 (JRT/FLN), 2010 WL 3546784,

at *4 (D. Minn. Sept. 7, 2010) (quoting Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 216



not, the Embassy waived the privilege by forwarding the email to those who do not have a need
to know the information, just as it did with RNE 63100. See supra at 16–18 (discussion of
privilege claim with respect to RNE 63100).
                                                25
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(S.D.N.Y. 2003)). Initially, a court must determine when the duty to preserve evidence was

triggered. E*Trade Sec. LLC v. Deutsche Bank AG, 230 F.R.D. 582, 587 (D. Minn. 2005)

(RHK/AJB) (citation omitted). “The obligation to preserve evidence begins when a party knows

or should have known that the evidence is relevant to future or current litigation.” Id. at 588

(citing Stevenson v. Union Pac. R.R. Co., 354 F.3d 739, 746 (8th Cir. 2004); Zubulake, 220

F.R.D. at 216). A court may order sanctions “when a party (1) destroys (2) discoverable material

(3) which the party knew or should have known (4) was relevant to pending, imminent, or

reasonably foreseeable litigation.” Lexis–Nexis v. Beer, 41 F. Supp. 2d 950, 954 (D. Minn.

1999) (DSD/JMM) (citation omitted). In addition, a court must find that the moving party was

prejudiced before a sanction can be imposed for spoliation. Stevenson, 354 F.3d at 748 (citation

omitted).

       Once spoliation is established, a court has broad discretion in choosing the appropriate

sanction. Dillon v. Nissan Motor Co., 986 F.2d 263, 268 (8th Cir. 1993); Nicollet Cattle Co.,

Inc., 2010 WL 3546784, at *4 (citing Zubulake, 220 F.R.D. at 216). A finding of bad faith is not

necessary for a court to impose sanctions under its inherent power. Stevenson, 354 F.3d at 745,

750 (citations omitted). Striking a pleading “is a severe sanction that may ineluctably lead to

judgment for the other side. This sanction thus should be applied only where there is an order

compelling discovery, a willful violation of that order, and prejudice to the other party.” St.

Louis Produce Mkt. v. Hughes, 735 F.3d 829, 832 (8th Cir. 2013). To impose an adverse-

inference instruction, a court must find that (1) the nonmoving party intentionally destroyed

evidence with a desire to suppress the truth, and (2) the moving party was prejudiced. Hallmark

Cards, Inc. v. Murley, 703 F.3d 456, 460 (8th Cir. 2013) (citing Stevenson, 354 F.3d at 746,

748). Although imposing attorney’s fees is one of the least-severe forms of sanctions, the Eighth



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Circuit requires a showing of bad faith before such a sanction can be imposed for spoliation.

Stevenson, 354 F.3d at 751. Examples of bad faith include fraud on the court, the delay or

disruption of litigation, or hampering the “enforcement of a court order.” Chambers v. NASCO,

Inc., 501 U.S. 33, 46 (1991).

       Judge Nelson instructed the parties to bring this Motion before the undersigned. (Order

Dated Jan. 13, 2014) [Doc. No. 181 at 2]. Because Ewald asks for sanctions that are potentially

dispositive (striking the Answer), and affect trial (the adverse inference instruction), this Court

writes this portion as a report and recommendation. See St. Louis Produce Mkt., 735 F.3d at 832

(stating that striking a pleading may lead to judgment for the opposing party); Hallmark Cards,

703 F.3d at 460–61 (discussing adverse inference instructions); Zubulake, 220 F.R.D. at 216

(stating that “the determination of an appropriate sanction for spoliation, if any, is confined to the

sound discretion of the trial judge, and is assessed on a case-by-case basis[]” (citations omitted)).

               2.      Gandrud’s Mobile Phone

                       a.       Additional Background

       Ewald named Gandrud as a defendant in her initial complaint, which was removed to

federal court on July 27, 2011. (Notice of Removal) [Doc. No. 1]; (Compl., Ex. A, Attached to

Notice of Removal) [Doc. No. 1-1 at ¶ 3]. 26 At the time, Gandrud worked for Faegre. See

(Schroeder Dec. 1, 2013 Email). 27 Gandrud moved to dismiss on August 15, 2011. (Gandrud’s

Mot. to Dismiss) [Doc. No. 4]. Judge Nelson heard oral argument on December 15, 2011.

(Minute Entry Dated Dec. 15, 2011) [Doc. No. 15]. Sometime during December 2011, Gandrud

retired from Faegre.     (Schroeder Dec. 1 2013 Email at 2).          Upon his retirement, and in

26
        This citation refers to paragraph 3 of the Complaint. The summons was also submitted as
part of Exhibit A.
27
        This page number refers to the pagination assigned by CM/ECF to Document Number
187-4.
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accordance with firm policies, Gandrud returned his BlackBerry to Faegre.           (Id.).   Faegre

“wiped” the BlackBerry, and the data that was on it at the time “no longer exists.” (Id.).

       Judge Nelson granted Gandrud’s Motion to Dismiss in January 2012. (Mem. Op. &

Order Dated Jan. 26, 2012, “Gandrud Dismissal Order”) [Doc. No. 18]. The undersigned held a

Settlement/Pretrial Conference on July 6, 2012, where this Court reminded the parties of their

obligation to preserve electronically stored information (“ESI”), and directed the parties to

identify sources and custodians of ESI. (Tr. of Excerpt of the Pretrial Scheduling/Settlement

Conference, “Pretrial Tr.”) [Doc. No. 51 at 4:25–5:13]. Although the parties subsequently

negotiated a Form of Production Agreement, they did not specify ESI sources or how ESI would

be collected. See (Oct. 2013 Order at 3). Written discovery began in August 2012. See (id.).

On December 3, 2012, the Embassy sent Judge Nelson a letter, which included Diplomatic Note

Number 62/2012 from Norway. See (id. at 4); see also (Diplomatic Note No. 62/2012, the

“Diplomatic Note,” Attachment A to Letter to District Judge (Dec. 3, 2012), Ex. 4, Attached to

Schroeder Aff.) [Doc. No. 117-4 at 4–6]. 28 The Diplomatic Note provided a limited waiver of

the otherwise-inviolable archives and documents of the Embassy and the Consulate in

Minneapolis. (Diplomatic Note at 5). The Diplomatic Note permitted attorneys for the Embassy

to produce documents related to Ewald, Davidson, and the Consulate, and stated that Norway

would “abide by the final and binding decision and judgment of the relevant courts.” (Id.).

       Ewald filed her Motion to Compel on July 29, 2013. (Mot. to Compel). In it, she argued

that the Embassy must be forced to turn over, inter alia, Gandrud’s mobile phone. (Ewald’s

Mem. in Supp. of Mot. to Compel at 18, 21). This Court denied this portion of Ewald’s Motion

to Compel. (Oct. 2013 Order at 9). Following Ewald’s objections, Judge Nelson reversed in



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part, and found Ewald was entitled to discovery of text and voice messages from the mobile

phones the Embassy provided to Ewald and Gandrud. (Nov. 2013 Order at 20–21). Judge

Nelson ordered the parties to meet and confer to establish a protocol for searching for responsive

text and voice messages. (Id. at 21). During the meet-and-confer process, the Embassy advised

Ewald, and later, Judge Nelson, that it did not issue a mobile phone to Gandrud. See (Schroeder

Dec. 1 2013 Email at 2); (Embassy’s Dec. 23, 2013 Letter at 1). The Embassy attempted to

recover text messages from Gandrud’s Faegre-issued BlackBerry, but was unable to do so. (Aff.

of Joel P. Schroeder in Opp’n to Pl.’s Ewald’s Mot. for Sanctions, “Schroeder Aff.”) [Doc. No.

192 ¶ 11].

                      b.      Spoliation

       Ewald now argues that the Embassy engaged in spoliation of evidence when it failed to

preserve Gandrud’s Faegre-issued mobile phone, and should be sanctioned. See, e.g., (Ewald’s

Mem. in Supp. of Spoliation Sanctions at 16–20). The Embassy’s counsel, who also represented

Gandrud, should have known litigation was imminent when it received a demand letter from

Ewald’s counsel on March 29, 2011, and affirmatively knew Gandrud was a defendant in this

case when a Faegre attorney accepted service on Gandrud’s behalf. See (Ewald’s Mem. in Supp.

of Spoliation Sanctions at 3 n.4). Thus, the duty to preserve may have been triggered as early as

March 2011, but certainly no later than July 2011, when the Complaint was served. 29 See

(Compl.).

       When the Complaint was served, at minimum, the Embassy’s counsel, who also

represented Gandrud, should have at least anticipated that Gandrud’s mobile phone may have



29
        In April 2011, the Embassy sent a legal hold to individuals identified in Ewald’s March
2011 demand letter, and updated it in July 2012, September 2012, and October 2012. (Schroeder
Aff. ¶ 2).
                                               29
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contained ESI relevant to the instant case. 30 As previously noted, and reiterated by Judge

Nelson, the parties knew or should have known that text messages, and any other ESI, stored on

mobile phones may be an issue. (Oct. 2013 Order at 9); (Nov. 2013 Order at 20). Although the

Embassy did not issue Gandrud a mobile phone, its attorneys, who are employed by the same

firm as Gandrud was, certainly knew that Gandrud had a Faegre-issued mobile phone. See

(Gandrud’s Mot. to Dismiss (signed by Daniel G. Wilczek and Sean R. Somermeyer, both

attorneys at Faegre). When Gandrud retired from Faegre, he was still awaiting Judge Nelson’s

decision on whether he would be dismissed from this case, and was therefore still a defendant in

this litigation. Compare (Minute Entry Dated Dec. 15, 2011) with (Gandrud Dismissal Order).

This Court finds that it would have been reasonable and prudent for Gandrud’s counsel—the

same as the Embassy’s counsel and Gandrud’s colleagues at Faegre—to preserve Gandrud’s

Faegre-issued mobile phone at the time of his retirement so that the parties retained the ability to

review it for information “reasonably calculated to lead to the discovery of admissible evidence.”

See Fed. R. Civ. P. 26(b)(1). Put differently, while it is clear Gandrud may have been a

custodian of ESI, neither party identified the repositories of ESI for custodians as this Court

originally instructed. 31 (Pretrial Tr. at 4:25–5:13). Thus, the Embassy spoliated Gandrud’s

mobile phone because it failed to preserve it, and the Embassy’s counsel knew or should have

known was relevant to pending litigation. See Lexis–Nexis v. Beer, 41 F. Supp. 2d at 954.




30
        Even if the Embassy’s counsel was confident that the claims against Gandrud would
dismissed, Ewald’s claims against the Embassy certainly should have suggested to the
Embassy’s counsel that Gandrud likely had relevant information. See, e.g., (Compl. ¶¶ 34–38).
31
        Arguably, it may not have mattered with respect to the destruction of Gandrud’s mobile
phone because the Pretrial Conference took place after Gandrud retired. (Minute Entry Dated
July 6, 2012) [Doc. No. 33]. But if the parties had identified custodians of ESI (other than
email), the parties could have resolved this dispute much earlier.
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                       c.      Prejudice

       But this Court must make a finding of prejudice to impose sanctions for spoliation, and

there is insufficient evidence to allow this Court to make such a finding. See Stevenson, 354

F.3d at 748 (citation omitted). Throughout both her Motion to Compel and the instant Motion

for Spoliation Sanctions, Ewald refers to only one document that alludes to a potentially relevant

text message from Gandrud. (Ewald’s Mem. Supp. of Mot. to Compel at 21); (Ewald’s Mem. in

Supp. of Spoliation Sanctions at 4 n.3). 32 That document is an email dated February 23, 2011,

from Gandrud to Ambassador Strømmen stating, “Sorry for my text ‘blast.’ On my way home,

Christina calls, upset with Ellen, then I text while driving home. Sorry. . . . I apologize [sic] the

text in the heat of the moment! In the future, I think I’ll stick to e-mails!” (Ex. 12 at RNE 835,

“RNE 835,” Attached to Schroeder Aff.) [Doc. No. 192-12]. 33 The only reference to Ewald is

that Christina, which presumably refers to Christina Carleton (“Carleton”), 34 called Gandrud and

was upset with Ewald. (RNE 835). As a result, Gandrud apologizes for his text “blast.” (Id.).

While this email may suggest that the text Gandrud references was relevant, or likely to lead to

relevant information, it does not show that the text’s absence is prejudicial. And Ewald offers no

evidence as to the substance of the text. Even if Gandrud’s email suggests that Ewald was

mentioned in the text, there is no evidence that the text referred to in the email, or any other text

messages from Gandrud’s mobile phone are prejudicial to Ewald’s case. Contra (Ewald’s Mem.




32
         Ewald also states that “Gandrud used his [mobile] phone to communicate by texts,
according to other documents.” (Ewald’s Mem. in Supp. of Sanctions at 14). Elsewhere, Ewald
cites to RNE 835 as an example, but provides no citation to these “other documents.” Compare
(id. at 14) with (id. at 4 n.3).
33
         As noted by Ewald, RNE 835 was also produced in connection with the Motion to
Compel. See (Ewald’s Mem. in Supp. of Spoliation Sanctions at 4 n.3).
34
         Carleton was another employee at the Consulate. See (Am. Comp. ¶ 57).
                                                 31
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in Supp. of Spoliation Sanctions at 19) (stating that “the prejudice to Ewald of the loss of

communications regarding the positions, salary, and her reputation is obvious.”).

       The case Ewald cites in support of this proposition, E*Trade, is not instructive. See (id.)

(citing E*Trade, 230 F.R.D. at 592).        In that case, hard drives and recorded telephone

conversations were destroyed. E*Trade, 230 F.R.D. at 592. The court found that there was a

“reasonable probability” that these materials “materially prejudiced the plaintiffs.” Id. Based on

the evidence submitted by Ewald, this Court cannot find that Ewald was prejudiced based on

only one email that appears to provide the sole, independent reference to any text messages, and

also suggests that text messages on that particular phone after that date—February 23, 2011—

will be nonexistent.

       Further, Ewald appears to have passed up several opportunities to obtain this information

through other methods. Ewald did not question Gandrud about any text messages he sent during

his deposition. (Schroeder Aff. ¶ 10). Ewald did not raise the issue during the deposition of

Ambassador Strømmen, who appears to have received not only Gandrud’s text, but also

Gandrud’s email about the text. (Id.); see also (RNE 835); (Embassy’s Mem. in Opp’n to

Spoliation Sanctions at 13) (noting that Ambassador Strømmen’s deposition took place about six

weeks after Ewald’s counsel raised text messages and RNE 835 in a letter to the Embassy’s

counsel). Additionally, Ewald did not ask Carleton about text messages, who, according to RNE

835, called Gandrud shortly before he sent the text. (Schroeder Aff. ¶ 10); see also (RNE 835).

This District has previously held that if the moving party is able to obtain the destroyed evidence

from another source, there is no prejudice. Nicollet Cattle Co., 2010 WL 3546784, at *6. 35 This



35
        In Nicollet and Fakhro, cases from this District where sanctions were not awarded for
spoliation, the destroyed evidence was available in other produced materials. See, e.g., Nicollet
Cattle Co., 2010 WL 3546784, at *6 (finding that the information in the destroyed vessel books
                                                32
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Court finds that Ewald had several opportunities to question witnesses about the text message or

any other text messages to gain the same information, and chose not to take advantage of those

opportunities. Ewald cannot now complain that she was prejudiced, and therefore, this Court

recommends that sanctions not be awarded against the Embassy.

                      d.      Sanctions

       Even if Ewald was prejudiced—a proposition with which this Court does not agree—this

Court recommends against imposing sanctions. Ewald makes two specific arguments in support

of sanctions. First, Ewald accuses the Embassy of concealing the destruction of Gandrud’s

mobile phone. (Ewald’s Mem. in Supp. of Spoliation Sanctions at 14). The Embassy clearly

stated it did not preserve text messages in its response to Ewald’s Motion to Compel, which it

filed on August 5, 2013—two months after Ewald first raised its desire to search mobile phones

on May 31, 2013. (Letter from Sheila Engelmeier (Ewald) to Joel Schroeder (the Embassy)

(May 31, 2013), “Engelmeier May 31, 2013 Letter,” Ex. V., Attached to Engelmeier Aff.) [Doc.

No. 110-22 at 13–14]; (Embassy’s Mem. in Opp’n to Mot. to Compel at 30); see also

(Embassy’s Mem. in Opp’n to Spoliation Sanctions at 11–12). This does not demonstrate any


was also available in the folders that were produced, and finding that the moving party did not
submit evidence showing those folders were altered as it alleged); Fakhro v. Mayo Clinic
Rochester, Civ. No. 02–626, 2004 WL 909740, at *2–4 (D. Minn. Mar. 31, 2004) (JNE/JGL)
(finding that the information rhythm strips from a cardiac procedure that were destroyed in a
medical malpractice based on that procedure were available in other produced documents).
        In the Eighth Circuit cases cited by Fakhro, sanctions were awarded where the evidence
was not available through other means, and the evidence was highly relevant to the claims at
issue. See Stevenson, 354 F.3d at 748–49 (awarding sanctions due to the “nature of the
evidence” in case where plaintiffs sued a railroad for negligence for the injuries they suffered in
a train accident and where the defendant railroad destroyed a voice “recording of conversations
between the engineer and dispatch contemporaneous with the accident . . .”); Dillon, 986 F.2d at
266–68 (affirming exclusion of expert’s report as sanction for the expert destroying the car, and
affirming magistrate judge’s determination that the destruction was prejudicial where destroyed
car was the car where the accident took place in lawsuit between a passenger and the car
manufacturer and the remaining evidence included grainy, blurry photos that did not “document
crucial areas of the vehicle . . .”).
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prejudice, willful violation of a discovery order, or a desire to suppress the truth. See St. Louis

Produce Mkt., 735 F.3d at 832; Hallmark Cards, 703 F.3d at 460 (citation omitted); Stevenson,

354 F.3d at 751.

       Ewald also argues that sanctions are appropriate because the Embassy preserved her

mobile phone, but not Gandrud’s mobile phone.           (Ewald’s Mem. in Supp. of Spoliation

Sanctions at 17, 18). But this distinction is not relevant for two reasons. First, Ewald’s phone

belonged to the Embassy, not a third party. See (Schroeder’s Aff. ¶ 11). Second, the Embassy

did not produce any text messages from Ewald’s phone, and did not attempt to access it until

instructed to do so by Judge Nelson’s November 2013 Order. (Embassy’s Mem. in Supp. of

Spoliation Sanctions at 11, 20).      Thus, the Embassy did not destroy some evidence while

preserving similar evidence. See (Ewald’s Mem. in Supp. of Spoliation Sanctions at 18) (citing

Stevenson, 354 F.3d at 747–78). This also does not demonstrate any prejudice, willful violation

of a discovery order, or a desire to suppress the truth. See St. Louis Produce Mkt., 735 F.3d at

832; Hallmark Cards, 703 F.3d at 460 (citation omitted); Stevenson, 354 F.3d at 751. Therefore,

sanctions are not appropriate in this case.

       This Court will address the effectiveness of sanctions more broadly in a separate section.

See infra, page 40–41.

                         e.    Conclusion

       In conclusion, this Court finds that because Ewald cannot establish she was prejudiced,

sanctions for the spoliation of Gandrud’s mobile phone are not appropriate. Therefore, this

Court recommends that the Motion for Spoliation Sanctions be denied with respect to the

destruction of Gandrud’s mobile phone.




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                  3.   Ewald’s First Laptop

       Ewald also argues that the Embassy spoliated evidence when it failed to preserve Ewald’s

First Laptop. (Ewald’s Mem. in Supp. of Spoliation Sanctions at 1). On January 29, 2010,

Ewald notified Vibe, who was then the Deputy Chief of Mission, that her first laptop crashed.

See (Ex. E at RNE 182, Attached to Fischer Decl.) [Doc. No. 187-5 at 2].36 The Embassy

provided Ewald with a new laptop at some point before February 3, 2010. See (Email from

Ewald to Markus Walther (Feb. 3, 2010, 3:15 p.m.), Ex. 10, Attached to Schroeder Aff.) [Doc.

No. 192-10]. 37

       Ewald argues that documents and conversations regarding her complaints about her pay,

which took place in late 2009 or early 2010, should have put the Embassy on notice that Ewald

contemplated legal action. See (Ewald’s Mem. in Supp. of Spoliation Sanctions at 16). But

these documents and conversations appear to be limited to Ewald’s complaints, and cannot be

read to imply a threat of litigation. Thus, this Court does not find that the Embassy had a duty to

preserve Ewald’s First Laptop.

       Even if the Embassy did have a duty to preserve Ewald’s First Laptop, Ewald has not

shown that the Embassy “knew or should have known [that it] was relevant to pending,

imminent, or reasonably foreseeable litigation.” See Lexis-Nexis, 41 F. Supp. 2d at 954. Ewald

does not even assert that relevant information from Ewald’s First Laptop is absent, much less

that it is prejudicial. See (Nov. 2013 Order at 17) (“As for [Ewald’s First L]aptop, Ewald has not

asserted even a belief that relevant information existed on that computer that has not been

produced from other sources.”). Additionally, the Embassy has produced relevant documents

36
       This page number refers to the pagination assigned by CM/ECF.
37
       The record is not clear what happened to the laptop after it “crashed.” The Embassy
affirmatively stated that it no longer has it, and so, for the purposes of this Motion, this Court
assumes it was destroyed. See (Schroeder Nov. 17, 2013 Email at 2).
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from the laptop Ewald used at the end of her employment in 2011. (Schroeder Aff. ¶ 6). Over

5,000 of these documents predate the untimely demise of Ewald’s First Laptop around January

2010, reinforcing the lack of prejudice as a result of the destruction of Ewald’s First Laptop.

(Id.).

         This Court therefore recommends that Ewald’s Motion for Spoliation Sanctions be

denied with respect to Ewald’s First Laptop because the Embassy did not spoliate the evidence,

Ewald fails to show prejudice, and therefore sanctions are not appropriate.

               4.      Innovation Norway Documents

                       a.     Additional Background

         Ewald also argues the Embassy is responsible for Innovation Norway’s failure to

preserve documents. (Embassy’s Mem. in Supp. of Spoliation Sanctions at 1). Although Ewald

argues Innovation Norway is part of the Norwegian government, it is not a party to this lawsuit.

(Ewald’s Mem. in Supp. of Spoliation Sanctions at 9–10). Innovation Norway is one of six

Norwegian institutions (the “Stakeholders”) that provided funding to Ewald and Davidson’s

positions. (Embassy’s Mem. in Opp’n to Spoliation Sanctions at 5–6). Svein Berg (“Berg”), a

representative of Innovation Norway, was a member of the Stakeholder Steering Committee (the

“Steering Committee”). (Id. at 6). The Embassy argues Innovation Norway was only marginally

interested in Ewald’s position, and that Berg had very little direct contact with Ewald. (Id.).

         In December 2012, Wikborg Rein (“Wikborg”), a Norwegian law firm acting on behalf

of Ewald, requested documents from Innovation Norway related to Ewald’s employment with

the Embassy. (Ewald’s Mem. in Supp. of Spoliation Sanctions at 10). 38 In January 2013,



38
       The documents Ewald cites, correspondence between Innovation Norway and Wikborg,
are in Norwegian, and Ewald did not provide a certified translation of these documents. See
(Exs. F, G, H, Attached to Fischer Decl.) [Doc. Nos. 187-6, 187-7, 817-8]. This Court takes the
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Innovation Norway responded that it searched its files, and did not find anything relevant. (Id.).

It also stated that the final minutes of the Steering Committee meetings were deleted. (Id.).

After additional research, Innovation Norway told Wikborg that it would not search for and

retrieve deleted emails because it was too time-consuming and expensive. (Id.); (Embassy’s

Mem. in Opp’n to Spoliation Sanctions at 15). Innovation Norway again stated that it found no

emails about Ewald’s employment, and stated that it was not responsible for maintaining those

documents. (Ewald’s Mem. in Supp. of Spoliation Sanctions at 10); (Embassy’s Mem. in Opp’n

to Spoliation Sanctions at 14–15). Wikborg requested confirmation of its understanding of the

status of the data in May 2013, and noted that “it was illegal for officials to discard material that

is subject to preservation orders.” (Ewald’s Mem. in Supp. of Spoliation Sanctions at 10–11). It

appears from the record that Ewald first brought the Innovation Norway documents to the

Embassy’s attention on May 31, 2013, over two years after when Ewald suggests the Embassy—

a party to this case—had a duty to preserve and hold its own documents. (Ewald’s Mem. in

Supp. of Spoliation Sanctions at 11). Additionally, Ewald waited more than five months after

the Embassy notified Ewald and Judge Nelson that its production would be limited as described

in the Diplomatic Note. See (Diplomatic Note).

                       b.      Spoliation

       As an initial matter, Ewald has failed to show that Innovation Norway had a duty to

preserve documents in this case. See E*Trade Sec., 230 F.R.D. at 587. Innovation Norway is

not a party to this lawsuit, and it never has been. Compare (Compl.) with (Am. Compl.). In an

August 2013 letter, Ambassador Strømmen stated that the Steering Committee is considered part

of the MFA for the purposes of the Norway’s Freedom of Information Act. (Letter from Amb.


parties’ representations about these documents as facts to the extent the representations are
consistent with each other.
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Strømmen (Aug. 1, 2013), Ex. A). [Doc. No. 183 at 10–11]. Ambassador Strømmen goes on to

say that because of this, any correspondence between the MFA and the Steering Committee are

considered internal documents. (Id. at 11). Thus, the duty to preserve documents related to

Ewald’s employment rests with either the MFA or the Embassy. Ewald points to no authority

that suggests that Innovation Norway had a duty to preserve evidence in this case, nor that the

Embassy can be held responsible for any failure to do so. See Wilson v. Beloit Corp., 921 F.2d

765, 767–69 (8th Cir. 1993) (finding no abuse of discretion where district court found a third

party was not responsible for preserving evidence for a party absent a special relationship or a

specific duty created by the parties). 39 Because the Embassy had no duty to preserve the

documents, it cannot be held responsible for their destruction.

       Finally, there is no prejudice to Ewald based on the fact that Innovation Norway has not

produced documents. The specific documents Ewald apparently seeks from Innovation Norway

are “emails with the final minutes of the meetings of the Steering Committing regarding Ewald’s

employment . . . .” (Ewald’s Mem. in Supp. of Spoliation Sanctions at 10). In December 2012,

the Embassy notified Judge Nelson and Ewald of the scope of its discovery responses through

the Diplomatic Note, and Ewald raised no objections. (Oct. 2013 Order at 4). The Diplomatic

Note states that it will provide documents from “the archives and documents on file with the

Consulate General in Minnesota and the Embassy in Washington[,] D.C. . . . .” and does not



39
       Even if Innovation Norway had a duty to preserve documents, the record is not clear
regarding whether the documents are destroyed. The parties agree that Innovation Norway stated
it was too expensive and time-consuming to search for documents it had deleted. (Ewald’s
Mem. in Supp. of Spoliation Sanctions at 10); (Embassy’s Mem. in Opp’n to Spoliation
Sanctions at 15). This suggests that, although documents were deleted, there may be a way to
recover them. Whether Innovation Norway can or should be compelled to undertake this task is
beyond the scope of this Motion, and this Court will not address it. Thus, for the purposes of this
Motion, this Court will assume the documents Ewald seeks from Innovation Norway have been
destroyed.
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mention Innovation Norway. (Diplomatic Note at 4). Also in December 2012, the parties agreed

on search terms and custodians, which did not include Berg or Innovation Norway. (Schroeder

Aff. ¶ 3). Finally, when Ewald first raised the Innovation Norway documents with the Embassy

in May 2013, the Embassy responded that it had already produced relevant documents.

(Engelmeier May 31, 2013 Letter at 12–13); (Letter from Joel Schroeder (Embassy) to Sheila

Engelmeier (Ewald) (June 7, 2013), Ex. W, Engelmeier Aff.) [Doc. No. 110-23 at 7]. In his

deposition, Berg, the Innovation Norway representative to the Steering Committee, stated that he

had very little interaction with Ewald. (Embassy’s Mem. in Opp’n to Spoliation Sanctions at 6–

7). The Embassy asserts that together, the parties produced hundreds of documents regarding the

Steering Committee minutes, including the “final minutes of the meetings of the Steering

Committee regarding Ewald’s employment . . . .”—the very documents Ewald claims she needs.

(Schroeder’s Aff. ¶ 7).    In addition, the Embassy produced thousands of documents from

members of the Steering Committee, including documents from Berg. (Schroeder Aff. ¶ 7).

Because Ewald is able to get this destroyed evidence from another source, there is no

prejudice. 40 See Nicollet Cattle, 2010 WL 3546784, at *6 (citation omitted).

       Because Ewald cannot show that Innovation Norway had a duty to preserve documents,

and because Ewald cannot show that she was prejudiced by any destruction Innovation Norway

may have undertaken of relevant documents, sanctions for spoliation are not warranted.

Therefore, this Court recommends that Ewald’s Motion for Spoliation Sanctions be denied to the

extent it seeks sanctions for Innovation Norway’s destruction of documents.

40
       In her Reply, Ewald argues that there should be documents regarding the Ministry of
Education’s representative to the Steering Committee, Trond Fevolden (“Fevolden”). (Ewald’s
Reply Mem. in Supp. of Mot. for Sanctions Due to Spoliation of Evidence) [Doc. No. 193 at 6
n.11]. Apparently, this is meant to rebut the Embassy’s assertion that relevant documents have
been produced. But because Fevolden is not related to Innovation Norway, this Court will not
address this argument.
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               5.     Conclusion

       This Court finds that sanctions are not appropriate for spoliation of Gandrud’s mobile

phone, Ewald’s First Laptop, or Innovation Norway documents.              Therefore, this Court

recommends that Ewald’s Motion for Spoliation Sanctions be denied.

       D.      General Effectiveness of Sanctions in this Case

       Given that both parties move for sanctions, this Court broadly addresses whether

sanctions would be effective in this case. See (Embassy’s Mot. for Rule 26 Sanctions); (Ewald’s

Mot. for Spoliation Sanctions).

       Each party enjoys excellent and zealous representation, which has, at times, been

acrimonious. 41 Nonetheless, the costs and fees incurred to date exceed one million dollars on a

per-party basis in a case that involves an alleged equal-pay disparity of approximately $100,000.

(Am. Compl. ¶¶ 12, 25, 59); (Oct. 2013 Order at 5). 42 As this Court noted in its October 2013

Order, the concept of proportionality that Rule 26 of the Federal Rules of Civil Procedure

mandates has been abandoned. See (Oct. 2013 Order at 5). In such an instance, this Court is

hard-pressed to discern what value sanctions may bring. The least-severe sanction either party

requests is a monetary sanction. Even if monetary sanctions were appropriate—and this Court

finds that they are not—they would not serve any purpose for this Court or the parties in light of




41
        See, e.g., (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 6–7 n.4) (stating that this
Court cannot “tolerate attorneys who violate ethical and procedural rules” and citing to the
Minnesota Rules of Professional conduct); (Ewald’s Mem. in Supp. of Spoliation Sanctions at
14) (accusing the Embassy of concealing the destruction of Gandrud’s phone).
42
        As of August 2013, the parties advised this Court they had each spent more than
$750,000 in attorneys’ fees. (Tr. of Hr’g on Mot. to Compel at 23:3–18; 48:18–20). This Court
extrapolates that number to one million dollars because, since August, the parties have continued
to accrue fees through, at minimum, briefing the objection and defense of this Court’s October
2013 Order, attempts to resolve the privilege issues, the Motion for Summary Judgment, and the
instant Motions for Sanctions.
                                               40
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the disproportionate amount of money the parties have spent to date. 43 See Pls.’ Baycol Steering

Committee v. Bayer Corp., 419 F.3d 794, 808 (8th Cir. 2005) (stating that a monetary sanction

should be sufficient to “deter future misconduct” (citation omitted)); Harlan v. Lewis, 982 F.2d

1255, 1262 (8th Cir. 1993) (finding that the district court did not offend due process when

imposing sanctions when it considered, inter alia, the impact of sanctions on “the course of

litigation and the ability of the parties . . . to present their case”).

         Because the parties moved for sanctions against each other, and because sanctions are not

likely to have any deterrent effect on this case given its history and procedural posture, this Court

finds sanctions are not warranted against either party.

III.     CONCLUSION

         Based upon all the files, records, and proceedings herein, IT IS HEREBY ORDERED

that:

         a.     With respect to Defendant Royal Norwegian Embassy’s December 17, 2013 letter

                regarding privileged documents [Doc. No. 174-1 at 7], Defendant Royal

                Norwegian Embassy must produce unredacted versions of RNE 363 and

                RNE 63100 within seven (7) days of this Order; and

43
        The Embassy requests monetary and “appropriate” sanctions for Ewald’s violation of
Rule 26(b)(5)(B). (Embassy’s Mem. in Supp. of Rule 26 Sanctions at 6–7). The specific
spoliation sanctions Ewald seeks are likewise not appropriate here, where no prejudice has been
found. First, Ewald identifies no willful act on the part of the Embassy that violated Judge
Nelson’s November 2013 Order compelling a search of Gandrud’s Embassy-issued phone
because no such phone exists. See (Embassy’s Mem. in Opp’n to Spoliation Sanctions at 2).
Therefore, the severe sanction of striking the Embassy’s Answer is not appropriate. See St. Louis
Produce Mkt., 735 F.3d at 832. Additionally, Ewald submits no evidence that the Embassy’s
counsel destroyed the phone “with a desire to suppress the truth,” as required to impose an
adverse-inference instruction. See Hallmark Cards, 703 F.3d at 460. Finally, Ewald offers no
evidence that the Embassy destroyed Gandrud’s mobile phone in bad faith, which is required to
impose a sanction of attorneys’ fees for spoliation. See Stevenson, 354 F.3d at 751. To the
contrary, Ewald seems to argue for sanctions absent bad faith. See (Ewald’s Mem. in Supp. of
Spoliation Sanctions at 16–17).
                                                     41
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       b.     Defendant Royal Norwegian Embassy’s Motion to Enforce Compliance with and

              Provide Sanctions for Violation of Rule 26(b)(5)(B) [Doc. No. 167] is DENIED.

       Based upon all the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that Plaintiff Ellen S. Ewald’s Motion for Sanctions Due to Spoliation of

Evidence [Doc. No. 184] be DENIED.




Dated: March 7, 2014

                                                           s/Steven E. Rau
                                                           STEVEN E. RAU
                                                           United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by filing
with the Clerk of Court, and serving all parties by March 21, 2014, a writing which specifically
identifies those portions of this Report to which objections are made and the basis of those
objections. Failure to comply with this procedure may operate as a forfeiture of the objecting
party’s right to seek review in the Court of Appeals. A party may respond to the objecting
party’s brief within ten days after service thereof. A judge shall make a de novo determination
of those portions to which objection is made. This Report and Recommendation does not
constitute an order or judgment of the District Court, and it is therefore not appealable to the
Court of Appeals.




                                              42
